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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

VC MACON, GA, LLC,                                *           Civil Action No.

               Plaintiff,                         *           5:18-cv-00388-TES

       v.                                         *

VIRGINIA COLLEGE LLC                              *

               Defendant.                         *

*      *       *       *       *      *       *       *       *      *       *       *

                CONSUMER PROTECTION DIVISION OF THE
           OFFICE OF THE ATTORNEY GENERAL OF MARYLAND’S
       OPPOSITION TO RECEIVER’S MOTION TO ENFORCE COURT ORDER

       The Consumer Protection Division of the Office of the Attorney General of Maryland (the

“Division”), opposes the Motion to Enforce Court Order (Dkt. No. 248) filed by John F. Kennedy,

in his capacity as receiver (the “Receiver”) for the Receivership Estate of Education Corporation

of America, Virginia College, LLC, and the New England School of Business and Finance (the

“Receivership Estate”).

       The Receiver seeks, through his motion, to extinguish the Division’s investigation of

Virginia College, LLC, a for-profit entity that offered career-related courses on the internet and at

campuses in Maryland and around the country, through enforcement of this Court’s Appointment

Order. As is discussed below, the Division is entitled to bring an action against Virginia College

to enforce its subpoena in Maryland court based upon the plain language of the Appointment

Order, which exempts from its authority “actions in which a state agency is a party and as to which

such state is exercising its police or regulatory powers.” Dkt. No. 26, ¶5. The Division is the

Maryland state agency charged with enforcing Maryland’s consumer protection laws, including
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the Consumer Protection Act, Md. Code Ann., Com. Law §§ 13-101 through 13-501 (the “CPA”),

and its investigation of Virginia College’s recruitment, lending, and debt collection practices is a

clear exercise of regulatory or police action by a state agency. See In re Luskin’s, Inc., 213 B.R.

107, 110-11 (D. Md. 1997). Accordingly, the Division did not violate or circumvent this Court’s

order by issuing its subpoena and filing its enforcement action in Maryland and the Receiver’s

motion should be denied.

I.      STATEMENT OF FACTS

        A.      The Division Has Broad Subpoena Authority to Protect the Public.

        The Division is responsible for enforcement of Maryland consumer protection laws,

including the CPA. When creating the CPA, the Maryland General Assembly expressly articulated

the purpose of the statute, which is to “take strong protective and preventive steps to investigate

unlawful consumer practices, to assist the public in obtaining relief from these practices, and to

prevent these practices from occurring in Maryland,” as well as “to accomplish these ends and

thereby maintain the health and welfare of the citizens of the State.” Com. Law §13-102(b)(3).

Consistent with that purpose, the General Assembly gave the Division authority to “[i]nitiate its

own investigation of any unfair and deceptive trade practice.” Com. Law §13-204. In furtherance

of that authority, the Division, “[i]n the course of any . . . investigation . . . may subpoena witnesses,

administer oaths, examine an individual under oath, and compel production of records, books,

papers, contracts, and other documents.” Com. Law §13-405(a). The General Assembly further

stated that the CPA “shall be construed and applied liberally to promote its purpose.” Com. Law

§13-105. These provisions demonstrate the General Assembly’s clear intention that the Consumer

Protection Act provide strong protection for Maryland consumers against unfair or deceptive

practices.



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       Maryland courts have recognized that agencies such as the Division have broad subpoena

authority. The Maryland Court of Appeals describes an agency’s authority to subpoena records

as, “include[ing] the power of inquisition, if one chooses to call it that, which is not derived from

the judicial function.” Vulcan Waterproofers, Inc. v. Md. Home Imp. Comm’n, 253 Md. 204, 210

(1969), quoting United States v. Morton Salt Company, 338 U.S. 632, 641-643 (1950). The

agency’s authority “is more analogous to the Grand Jury, which does not depend on a case or

controversy for power to get evidence but can investigate merely on suspicion that the law is being

violated, or even just because it wants assurance that it is not.” Id. (emphasis added). The statutory

delegation of “investigative and accusatory duties . . . to an administrative body [permits the

agency to] . . . take steps to inform itself as to whether there is probable violation of the law.” Id.

See also, Unnamed Attorney v. Attorney Grievance Comm’n, 409 Md. at 522-23, citing United

States v. R. Enterprises, Inc., 498 U.S. 292, 297 (1991). Unless a court “determines that there is

no reasonable possibility that the category of materials the Government seeks will produce

information relevant to the general subject of . . . [the agency’s] investigation. . .” a request

contained within an administrative subpoena must be considered relevant and, therefore,

reasonable. Unnamed Attorney, 409 Md. at 522-523, quoting R. Enterprises, 498 U.S. at 301.

       B.      The Division Utilized its Broad Police Authority to Investigate Virginia
               College’s Potential Unfair, Abusive, or Deceptive Trade Practices.

       Virginia College, an affiliate of the Education Corporation of America, operated three

ground campuses in Maryland under the name Brightwood College, one of which was in Baltimore

City. These campuses, until recently, enrolled approximately 1,000 Maryland students. Virginia




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College abruptly closed these campuses in December 2018, immediately after it lost its

accreditation status with the American Council for Independent Colleges and Schools 1

         The Division initiated the investigation that gave rise to this subpoena enforcement action,

because it has reason to believe that Virginia College engaged in and continues to engage in unfair,

abusive, and deceptive conduct that, if proven, would violate the CPA. As is set forth more fully

below, these practices likely: (1) occurred during the recruitment process; (2) occurred throughout

students’ matriculation; and (3) continue to occur each time Virginia College attempts to collect

upon student loan debts allegedly owed by students who attended the school.2

         First, Virginia College made representations to prospective Maryland students that may

have been false or otherwise constituted unfair, abusive, or deceptive practices, pursuant to the

CPA. For instance, Virginia College may have misrepresented that:

    (1) its application for accreditation with a new accreditor was “currently on schedule to be
        accepted” (Brightwood College Catalog, Exhibit 1, p. 6) when in actuality its application
        was denied based upon 232 weaknesses, showing noncompliance with 23 of the
        accreditor’s 33 accreditation standards (ACCET Initial Accreditation Denial (May 1,
        2018), attached hereto as Exhibit 2, p. 2);

    (2) it would provide career development services to students after they graduated to “assist
        students in their job search” (Catalog, Exhibit 1, p. 27) when, based upon the closure of all
        of Virginia College’s campuses, it no longer appears to be doing that;
1
  Liz Hill, a spokesperson for the U.S. Department of Education, publicly criticized the manner in which Virginia
College choose to undertake the sudden closure: “Instead of taking the next few months to close in an orderly fashion,
ECA took the easy way out and left 19,000 students scrambling to find a way to finish the education program they
started,” she said. https://www.npr.org/2018/12/06/674343283/for-profit-college-chain-education-corporation-of-
america-announces-shut-down; see also https://www.wbaltv.com/article/brightwood-college-suddenly-closes-
leaving-students-frustrated/25425539
2
  Although the Division will generally discuss some of the basis for its investigation, the Division need not allege
specific instances of wrongdoing before beginning an investigation because to do so would “hamstring [the Division’s]
investigative authority.” Washington Home Remodelers, Inc. v. State, Office of Attorney Gen., Consumer Prot. Div.,
426 Md. 613, 633-34 (2012). To require an allegation of specific wrongdoing at this early stage would defeat the
purpose of the administrative discovery process, which is to ascertain whether or not the law is being violated. Id. at
634 (explaining that the subpoena authority of the Division “is more analogous to the Grand Jury, which does not
depend on a case or controversy for power to get evidence but can investigate merely on suspicion that the law is
being violated, or even just because it wants assurance that it is not”) (emphasis in original); see also Consumer
Protection Division v. Consumer Publishing Co, Inc., 304 Md. 731, 756-59 (1985); Devine Seafood, Inc. v. Attorney
General, 37 Md. App. 439, 447-48 (1977) (stating that the Division may “act upon its own initiative, from whatever
stimulus, to investigate individual instances or broader patterns of unfair or deceptive practices”).

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    (3) its programs were “taught by qualified instructors,” (Catalog, Exhibit 2, p. 27) when in
        actuality an accreditor found a widespread shortage of qualified instructors, a faculty yearly
        turnover rate of 84 percent in one campus, and an instance of a program director for a
        medical billing and coding program with no experience in medical billing and coding
        (ACCET Denial, Exhibit 2, p. 10);

    (4) it had “facilities and resources that respond to the needs of students, faculty, and staff,”
        (Catalog, Exhibit 1, p. 4) when in actuality an accreditor found multiple Virginia College
        campuses failed to deliver the promised hands-on training and resources for its programs
        (ACCET Denial, Exhibit 2, p. 21, 31); and,

    (5) students had “the right to quality education,” which included “quality programs;
        appropriate instructional methodologies and content” (Catalog, Exhibit 1, p. 16) when in
        actuality, metrics published by the U.S. Department of Education roundly showed poor
        quality.3

        Second, Virginia College may have made representations to matriculating Maryland

students to ensure that they would not leave the school or to ensure that they would transfer into

another school owned by Virginia College or its parent company and may have made omissions

to both matriculating and prospective students. For instance, Virginia College may have:

    (1) failed to inform students who were attending its online school when it was being closed
        that they had a right to obtain a discharge of their federal student loans or could transfer to
        any school that would accept them, instead of only being able to transfer to the New
        England College of Business and Technology, which was another school owned by
        Virginia College’s parent company;

    (2) misrepresented to students whose ground campuses were closing to determine
        transferability of credits to another institution and, if the student was not satisfied with the
        transfer option, the school would refund all tuition paid;

    (3) failed to fully inform students about its declining financial position and the U.S.
        Department of Education’s determination that the school failed to meet required financial
        responsibility standards, which allowed the school to access federal money only through a
        restricted process called “Heightened Cash Monitoring” See, e.g., Emergency Motion for
        the Appointment of a Receiver and Entry of a Temporary Restratining Order and
        Preliminary Injunction, Dkt No. 10, p. 9-10; Receiver’s Initial Report, Dkt. No. 99, p. 6;
        and,

3
  Only 30 out of 193 programs offered by Virginia College passed the U.S. Department of Education’s test called the
“Gainful Employment Rule,” which compared the median amount of student loan debt incurred by a graduate to the
median income earned by graduates. https://www.chronicle.com/article/Here-Are-the-Programs-That/238851.
Virginia College’s cohort default rate ranged from 14 to 34.2 percent, which was far above the national rate of
10.8% https://www2.ed.gov/offices/OSFAP/defaultmanagement/cdr.html.

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    (4) failed to inform students about a directive from its accreditor, ACICS, on May 8, 2018, to
        “show-cause” why its accreditation should not be withdrawn and what the consequences
        from a loss of accreditation, which occurred seven months later,4 would entail.5

         Third, Virginia College may be violating the CPA when it collected and each time it

continues to collect upon the millions of dollars in student loan debts that former Maryland

students owe to the school. Virginia College owns over $70 million of student debts that are

allegedly owed to the school, and, of that $70 million, Virginia College is currently collecting

debts allegedly owed by graduates and “those former students that received education” from the

school.6     See Receiver’s Amended Expedited Motion for Order to Sell Certain Accounts

Receivable, Dkt No. 239, p. 2-3; Receiver’s Fourth Report, Dkt. No. 187, p. 7. This means that

Virginia College is actively collecting on student loans allegedly owed to the school that have a

total value between $16,865,257 and $37,080,107. Virginia College’s collection of any alleged

debt owed by Maryland students could violate the Maryland Consumer Debt Collection Act (and

thereby violate the Maryland Consumer Protection Act) if, among other things, Virginia College

has knowledge that it has no right to collect upon the debt or if it makes a false, deceptive, or

misleading representation in connection with the collection of the debt. See Md. Code Ann. Com.




4
 Due to various deficiencies including unresolved concerns with the “systematic implementation and demonstration
of compliance in 12 areas across various campuses including student progress, outcomes, [its hybrid online platform’s]
impact, student satisfaction, certification and licensure, and staff turnover,” Virginia College’s accreditor withdrew
accreditation on December 4, 2018. See ACICS Accreditation Withdrawal Letter, attached hereto as Exhibit 3.

5
 ACICS Letter of Institutional Show-Cause Directive, May 8, 2018,
http://www.acics.org/uploadedFiles/Actions/00010582_VirginiaColl_SC_AdverseInformation.pdf

6
  The only student debts that Virginia College made clear that it is not collecting are those allegedly owed by students
who attended the school within one-hundred and twenty days of the closure, or those students’ accounts that had been
inactive for over one year. Despite this being the only limitation on the debt being collected, Virginia College claimed
in its motion to enforce the court order that it is “not attempting to collect any Student AR from students in Maryland
other than in the ordinary course of business” and that this “means there is no ongoing or future behavior to discourage
or regulate by the enforcement of a police power.” Dkt. No. 248, p. 11.


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Law §14-202; §13-301(14)(iii).7 Virginia College may have knowledge that it does not have a

right to collect upon the student debt, or may be making false, misleading, or deceptive

representations when collecting the student debt, through its previous unfair, abusive, or deceptive

conduct it inflicted upon students when they enrolled and took out the debt or stayed enrolled and

took out more of the debt.

         In order to investigate the concerns discussed above, on May 13, 2019, the Division issued

an administrative subpoena (the “subpoena”). See Administrative Subpoena, attached as Exhibit

4. The Division’s subpoena seeks the following information relevant to its investigation:

        Information concerning Virginia College’s corporate organization, structure and
         ownership. See Exhibit 4, Request Nos. 1-3, 5-6.
        Information concerning Virginia College’s current and former employees who may have
         knowledge of facts relevant to the Division’s investigation. Id. at Request No. 4.
        The descriptions of Virginia College’s course offerings to Maryland students. Id. at
         Request Nos. 7-8.
        The materials used to advertise or market Virginia College’s educational services to
         Maryland students. Id. at Request Nos. 9-10.
        Documents related to certain representations made by the school to Maryland students,
         including the payment of background checks, change to a new accreditor, promises about
         the quality of the education, and notifications about the pending closure. Id. at Request
         Nos. 11-12, 16-20.
        A standard (blank) version of the enrollment agreement used with Maryland students. Id.
         at Request No. 13.
        Documents identifying Maryland consumers who purchased services from Virginia
         College, the services purchased, and the amounts the consumer paid and documents
         relating to the prices Virginia College charged consumers for its services. Id. at Request
         Nos. 14-15.
        Documents related to the school’s compliance with a U.S. Department of Education
         regulation. Id. at Request No. 21.
        Documents related to the closure of any of the school’s campuses that enrolled Maryland
         students. Id. at Request Nos. 22-25.

7
  Virginia College has made clear that it intends to sell $37,080,107 of student debts allegedly owed to the school and
identified a potential buyer of that debt on August 30, 2019. See Motion to Sell, Dkt No. 239; Notice of Potential
Purchaser of Collectable AR, Dkt. No. 257. Any purchaser of the of student debt would also need to comply with all
provisions of the Maryland Consumer Debt Collection Act and the CPA, including the provisions related to collection
of a debt that it has knowledge it has no right to collect and the relevant provisions of the Fair Debt Collections Act.
If a sale of the debt is permitted by this Court, the Division would have the authority to continue this investigation to
ensure that any buyer complies with Maryland law, and would have the authority to issue an administrative subpoena
to the buyer of the student debt.

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         Employee training materials. Id. at Request No. 26
         Documents that relate to other law enforcement investigations and consumer complaints.
          Id. at Request Nos. 27-29.

In order to minimize Virginia College’s burden when responding, the subpoena also offered it the

opportunity to provide lists of some of the requested information and limited other requests to the

production of forms or standardized documents. See id. at Request Nos. 3-7, 13-15.

          After agreeing to one extension of time for Virginia College to respond to the subpoena,

the Division agreed that Virginia College could limit its initial response to the subpoena to seven

requests. Despite that offer, Virginia College has failed to produce any documents in response to

the subpoena.8 As a result, the Division filed a petition to enforce the administrative subpoena in

the Circuit Court for Baltimore City.

II.       ARGUMENT

          A.     The Division’s Issuance of the Subpoena and Filing of the Petition to Enforce
                 that Subpoena are Exercises of its Police and Regulatory Power and are
                 Exempted from the Receiver’s Authority to Intervene, Remove, or Transfer
                 to this District.

          The Receiver only has the authority granted to him by the Appointment Order, which

provides that the Receiver’s authority to intervene in, remove, and/or transfer to the U.S. District

Court for the Middle District of Georgia does not exist in “actions in which a state agency is a

party and as to which such state is exercising its police or regulatory powers.” Dkt. No. 26, ¶5.

Similarly, section 362(a) of the Bankruptcy Code contains a nearly identical limitation on judicial,

administrative, or other actions or proceedings brought against a debtor, known as the “automatic



8
 The Receiver opaquely claims that he has “informally produced a substantial amount of requested information to the
CPD” (Dkt. No 248, p. 6), but it is unclear for what purpose he raises this point. During a negotiation regarding the
amount of student debts that the Receiver would seek to sell, the Receiver provided the Division with two documents
containing limited information about the amount and age of the student debts that are allegedly owed to Virginia
College. The Receiver has not claimed that these documents were produced in response to the Division’s subpoena,
as evidenced by the fact that the Receiver has sought extensions to respond to the entire subpoena, therefore the
purpose of the Receiver in mentioning that unrelated exchange of information is unclear.

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stay” while section 362(b)(4) provides a nearly identical exception to the automatic stay for actions

by a governmental unit to enforce its “police and regulatory power.” See 11 U.S.C. §§ 362(a);

362(b)(4). In enacting Section 362(b)(4), Congress made it clear that the police and regulatory

power exception should be broadly construed to permit government to protect the public welfare.

Specifically, the legislative history of Section 362(b)(4) states:

         Paragraph (4) excepts commencement or continuation of actions and proceedings
         by governmental units to enforce police or regulatory laws. Thus where a
         governmental unit is suing a debtor to prevent or stop violation of fraud,
         environmental protection, consumer protection, safety, or similar police or
         regulatory laws, or attempting to fix damages for violation of such a law, the action
         or proceeding is not stayed under the automatic stay.

House Report No. 95–595, 95th Cong. 2nd Sess. at 343, reprinted in 1978 U.S. Code Cong. and

Adm. News, 5787, 6299; see also, Senate Report No. 95–989, 95th Cong., 2nd Sess. at 52,

reprinted in 1978 U.S. Code Cong. and Adm. News, 5787, 5838; see also In re Allied Mech. Servs.,

Inc., 38 B.R. 959, 962 (Bankr. N.D. Ga. 1984).9 Courts have also recognized that the purpose of

this “police-power exception” is to prevent a debtor from frustrating necessary governmental

functions. Securities and Exchange Comm’n v. Brennan, 230 F.3d 65, 71 (2d Cir. 2000).

         In determining whether the police-power exception applies, courts have looked to the

purposes of the law that the government seeks to enforce, to distinguish between situations in

which a state acts pursuant to its police and regulatory power, and where the state acts merely to

protect its status as a creditor. See U.S. ex rel. Fullington v. Parkway Hosp., Inc., 351 B.R. 280

(E.D.N.Y. 2006) (citations omitted). Although it is true that courts have historically applied the

“pecuniary purpose” and “public policy” tests to resolve this question, the Receiver’s reliance on


9
  The Division’s use of Bankruptcy Court cases as precedent in this receivership matter is guided by decisions of this
Circuit. See Bendall v. Lancer Mgmt. Grp., LLC, 523 F. App’x 554, 557 (11th Cir. 2013) (“[g]iven that a primary
purpose of both receivership and bankruptcy proceedings is to promote the efficient and orderly administration of
estates for the benefit of creditors, we will apply cases from the analogous context of bankruptcy law, where
instructive, due to limited case law in the receivership context.”

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In re Enron Corp., 314 B.R. 524 (S.D.N.Y. 2004) to support the contention that when a matter is

not deterrent upon the company being prosecuted it is not exempt from the police-power exception

is misplaced because that case contradicted the conclusions of several circuit courts of appeal. See,

e.g., PG & E Corp., 433 F.3d at 1125-26; Brennan, 230 F.3d at 71; Penn Terra, 733 F.2d at 273.

And several district courts, including the Southern District of New York, have since questioned

and repudiated the Enron court’s reasoning in reaching that decision. See, e.g., In re Gen. Motors

LLC Ignition Switch Litig., 69 F. Supp. 3d 404, 412 n.4 (S.D.N.Y. 2014); Parkway Hosp., Inc.,

351 B.R. at 289 n.8.

         Under any test, the Division’s investigation of Virginia College is clearly brought for a

public police purpose because it was commenced to determine whether the CPA has been violated

and continues to be violated and, upon such a determination, could seek to punish past violations10

and prevent future and continuing violations of the consumer protection laws through an injunction

that could order Virginia College (or another entity) to cease collecting the student loan debts of

Marylanders and take other remedial action. The monetary relief that could be sought by the

Division would include restitution for consumers, the purpose of which is not to compensate

victims, but to force Virginia College to disgorge amounts it would be unjust for it to keep. See

Consumer Prot. Div. v. Consumer Publ’g Co., Inc. 304 Md. 731, 776 (1984).

         Under virtually the same circumstances as this case, the United States District Court for

the District of Maryland, found that the Division, when enforcing the CPA, was exercising “a

legitimate use of its police power and/or regulatory power even though it seeks to reduce a

monetary claim to judgment” and thus, the action was exempt from the automatic stay pursuant to


10
  Even if the Division was only seeking money damages for past harms in the form of civil penalties in an
enforcement action, the enforcement action is a legitimate use of its police or regulatory power. See General Motors,
69 F. Supp. 3d at 412 (quoting Missouri ex rel. Koster v. Portfolio Recovery Assocs., Inc., 686 F. Supp. 2d 942, 948
(E.D. Mo. 2010).

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11 U.S.C. §326(b)(4). In re Luskin’s, Inc., 213 B.R. 107, 110-11 (D. Md. 1997). “When seeking

restitution . . . the Consumer Protection Division is asserting more than a pecuniary interest of the

State. In addition to halting unfair trade practices that violate the Maryland Consumer Protection

Act, it is attempting to ‘implement the broader statutory purpose of protecting the public interest.’”

Id. In another similar case, the court held that a consumer protection action brought by the

Attorney General of Massachusetts was a police action based upon not only the seeking of the

restitution of money illegally obtained but also the Commonwealth “using its police and regulatory

power to deter future unlawful conduct and is, therefore, primarily seeking to protect the public

welfare.” Commonwealth of Massachusetts v. New England Pellet, LLC, 409 B.R. 255, 259 (D.

Mass. 2009).

       The vast majority of cases on this topic agree with the Division’s position. See e.g.,

Consumer Publ’g Co., Inc., 304 Md. at 779; City & Cnty. Of San Francisco v. PG & E Corp., 433

F.3d 1115, 1125-26 (9th Cir. 2006) (holding that because “restitution will benefit the public

welfare by penalizing past unlawful conduct and deterring future wrongdoing,” a governmental

action under its unfair competition law “is fundamentally a law enforcement action designed to

protect the public and not to benefit private parties); Brennan, 230 F.3d at 71 (“Where a

government unit is suing a debtor to prevent or stop violation of fraud, . . . consumer protection, .

. . or similar police or regulatory laws, or attempting to fix damages for violation of such a law,

the action of proceeding is not stayed under the automatic stay.”); Brock v. Rusco Industries, Inc.,

842 F.2d 270, 273 (11th Cir. 1988) (holding that a lawsuit brought by the Secretary of Labor “to

protect legitimate businesses from unfair competition and to enforce the federal law regarding

minimum wage” was exempted from the automatic stay); Equal Employment Opportunity Comm'n

v. McLean Trucking Co., 834 F.2d 398, 403 n. 9 (4th Cir. 1987) (holding that even where suits



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were initiated after the filing of the bankruptcy, the “exemption of EEOC's enforcement actions

against McLean from the automatic stay provision of § 362(a) ‘vindicate[s] the public interest in

preventing employment discrimination’”); Penn Terra Ltd. v. Dep’t of Envtl. Res., Com. Of Pa.,

733 F.2d 267, 273 (3d Cir. 1984) (holding that the exceptions to the automatic stay should be

construed liberally and in favor of the States’ exercise of their police powers when it found that

actions taken by a state to enforce an injunction to correct past violations of state environmental

protection statutes was within state’s police and regulatory powers); In re First Alliance Mortg.

Co., 263 B.R. 99, 113 (B.A.P. 9th Cir. 2001) (rejecting the argument that police action by a State

that results in “damages inuring to the benefit of third parties” demands a stay); In re Family

Vending, Inc., 171 B.R. 907 (Bankr. N.D. Ga. 1994) (action “to enforce governmental regulatory

powers, not to collect a debt” is exercise of police or regulatory power and excepted from the

automatic stay).

          Even the Bankruptcy Court in this District has held that the police-power exemption applies

to the commencement of an action where “a governmental unit is suing a debtor to prevent or stop

violation of fraud, environmental protection, consumer protection, safety, or similar police or

regulatory laws, or attempting to fix damages for violation of such law.” In re Gallagher, No. 08-

41445, 2010 WL 2507219, *1 (Bankr. M.D. Ga. Jun. 16, 2010). As is set forth above, an action

the Division could commence following its investigation could seek to enjoin Virginia College’s

past, present, and continuing unfair, abusive, or deceptive trade practices, and to disgorge monies

that it has no right to keep. Accordingly, under any analysis, the purpose of the Division’s

investigation is to protect the public and is not for pecuniary reasons and, therefore, is a police

action.




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       The case law is no different when analyzing the issuance and enforcement of an

administrative subpoena, and courts have recognized that investigations for potential fraud are part

of a government agency’s police power, and thus fall within the scope of the exception to the

automatic stay. See, e.g., U.S. Dept. of Housing and Urban Development v. Sutton, 68 B.R. 89, 94

(E.D. Mo. 1986); In re Poule, 91 B.R. 83, 87 n.2 (B.A.P. 9th Cir. 1988) (“[T]he stay does not bar

government agencies from investigating, punishing and preventing fraudulent activity by

bankruptcy debtors.”). In Sutton, the court considered a petition to enforce an administrative

subpoena duces tecum issued by the Department of Housing and Urban Development (“HUD”).

68 B.R. at 91. The court held that issuance of the subpoena was a valid exercise of HUD’s police

power, and that the automatic stay was not applicable because “investigations for potential fraud

fall within the scope of the [police or regulatory power] exception.” See id. at 94.

       Making this dispute all the more baseless is the fact that the Receiver has previously

acknowledged in this matter that a subpoena from a state consumer protection agency deserves

compliance. On January 7, 2019, the Office of the Attorney General of Alabama issued a subpoena

to Virginia College requesting information related to some students who attended Virginia

College’s online school. Instead of trying to use the Appointment Order to prevent enforcement

of the subpoena and claiming that the subpoena was not a police action, the Receiver responded to

the subpoena after negotiating a protective order. See Protective Order, See Dkt. No. 165, p.1.

There is no meaningful way to explain the Receiver’s change in position from his prior compliance

with an Attorney General subpoena, except that he simply does not want to respond to the

subpoena from the Division.

       The Receiver is also incorrect that the Division is seeking to interfere with the Receiver’s

exercise of his rights under the Appointment Order. Instead, the Division is seeking, among other



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things, information related to potential ongoing violations of the CPA, through violations of the

Maryland Consumer Debt Collection Act and the Fair Debt Collection Act committed in Virginia

College’s collection of any of the student debt. As a result, the Division instituted its investigation,

at least in part, to prevent continuing conduct that harms the public health and safety of

Marylanders, namely, the collection by Virginia College upon a debt in a manner that violates

Maryland law.

           The Division’s petition is plainly an action “in which a state agency is a party and as to

which such state is exercising its police or regulatory powers,” pursuant to paragraph 5 of the

Appointment Order. As a result, the Receiver lacks the authority to enforce its Appointment Order

against the Division.

           B.       The Division’s Proof of Claim Does Not Serve to Prevent the Division from
                    Filing its Subpoena Enforcement Action.

           The Receiver’s contention that the Division has subjected itself to the equity jurisdiction

of this Court by filing a proof of claim for an unliquidated amount in the pending Chapter 11

proceeding is without merit. The Division’s Proof of Claim11 did not submit the Division to this

Court’s jurisdiction for the purpose of enforcing its subpoena for at least four reasons.

           First, courts have previously permitted the Division to bring an independent action after

filing a proof of claim in a bankruptcy. See e.g., In re Luskin’s, Inc., 213 B.R. 107 (D. Md. 1997).

In that case, the Division filed a proof of claim seeking $500,000 and damages from Luskins in

the form of free airfare or its cash equivalent after Luskins misrepresented consumers’ ability to

obtain free airfare that it promised when it was advertising for its products. Id. at 109. The district

court reversed a decision of the bankruptcy court that the automatic stay applied and held that “the

Consumer Protection Division's enforcement action is a legitimate use of its police power and/or


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     The Division filed one Proof of Claim, but it was docketed twice by the claims Administrator.

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regulatory power even though it seeks to reduce a monetary claim to judgment.” Id. at 111. Like

the present case, the Division in Luskins was attempting to “prevent future violations of the

consumer protection laws” and “is attempting to ‘implement the broader statutory purpose of

protecting the public interest’” through its independent enforcement action, despite the fact that it

also filed a proof of claim. Id.

       Second, if the Division brought an action for violations of the CPA, it could seek, in

addition to monetary damages, an injunction ordering Virginia College (or a subsequent holder of

the debt) to cease collecting upon the student loan debts of Marylanders and take other remedial

action, which was not sought in its proof of claim. See Proof of Claim, attached hereto as Exhibit

5. The Division served the subpoena, at least in part, to obtain documents that would be relevant

to the determination of whether an injunction could be ordered related to the collection of debts.

As a result, the Division is not using the subpoena or the petition to advance its proof of claim

against the Receivership Estate.

       Third, even if the Proof of Claim somehow covers everything that the subpoena relates to

(which it does not), the filing of a proof of claim does not provide exclusive jurisdiction over all

aspects of the claim and courts routinely abstain from hearing a particular matter to acknowledge

the right of state courts to determine particular aspects of state law. See e.g., In re Mystic Tank

Lines Corp., 544 F.3d 524, 528-29 (3d Cir. 2008) (rejecting the argument that the filing of a proof

of claim required the claim required the claim to be litigated in the bankruptcy court); Penn Terra

Ltd. v. Dep’t of Envtl. Res., Com. Of Pa., 733 F.2d 267, 273 (3d Cir. 1984) (acknowledging the

right of the Pennsylvania state court to issue an order compelling the debtor to proceed with

remediation of a contaminated site, notwithstanding that the claim for recovery of the costs was

pending in the bankruptcy court).



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       Lastly, the Division made clear in its proof of claim that it had the authority to bring a

separate action despite its filing of the claim when it specifically “reserve[d] the right to bring an

independent action” based on its “police and regulatory power as a government unit.” Proof of

Claim, Exhibit 5, p. 2. For these reasons, the Division’s filing of its proof of claim does not act as

a consent to the jurisdiction of this court for a police action relating to an investigation into past,

present, and continuing violations of the CPA.

       C.      The Division’s Subpoena is Not Detrimental to the Proceedings.

       Virginia College baldly asserts that responding to the Division’s subpoena would be

disruptive of his efforts in these proceedings. It fails to mention that the Division offered to limit

the Respondent’s initial production related to the subpoena to only seven requests related to a

limited time period and fails to recognize that the subpoena itself stated that, in lieu of providing

certain actual documents, the Respondent could choose to provide a list of documents that contain

the information requested. See Administrative Subpoena at Exhibit 4.

       To the extent the Respondent may claim that the production of the requested documents

will be overly costly to the Respondent (which it has not yet made), Maryland law states:

               “[T]he mere circumstance that compliance with the requirements of
               the subpoena will be expensive and will interfere with the conduct
               of respondent's business does not in itself often afford a basis for
               refusal to enforce the subpoena. Rather, the courts take into
               consideration the character of the administrative investigation, the
               apparent importance to the agency of the documents in question
               (i.e., their potential relevancy), and the purpose of the agency in
               issuing the subpoena.”

Equitable Trust Company v. Comm’n on Human Relations, 287 Md. 80, 93 (1980); see also

E.E.O.C. v. Maryland Cup Corp., 785 F.2d 471, 475 (4th Cir. 1986), citing United States v. Powell,

379 U.S. 48, 57-58, 85 S.Ct. 248, 254-55 (1964) (holding that the mere fact that it would cost the

business $75,000 to respond to the EEOC’s subpoena did not establish that the subpoena was

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unduly burdensome); N.L.R.B. v. Carolina Food Processors, Inc.in , 81 F.3d 507, 513-14 (4th Cir.

1996). Despite the fact that Virginia College’s corporate parent is currently in receivership, it has

funds to pay for the search and production of the records requested by the Division in its subpoena.

See Receiver’s cash forecast submitted on August 28, 2019, Dkt. No. 255-1. There is no basis for

Virginia College’s broad and baseless claim of “disruption” to overcome the police-power

exception to the Appointment Order.

IV.    CONCLUSION

       For the reasons stated herein, the Division did not consent to the exclusive jurisdiction of

this court by filing a proof of claim and its subpoena and petition to enforce that subpoena are

legitimate police and regulatory actions that are exempted from the Receiver’s authority to

intervene, remove, or transfer in the Appointment Order. Accordingly, the Division respectfully

requests that this Court decline the Receiver’s request that it extinguish the Division’s

investigation and deny the Receiver’s motion to enforce court order.



Dated: September 3, 2019                           Respectfully Submitted,
                                                   BRIAN E. FROSH
                                                   Attorney General of Maryland

                                              By: /s/ Christopher J. Madaio _______
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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of Court using the

CM/ECF system, on this the 3rd day of September 2019, which will send email notification to all

counsel of record.


                                              /s/ Christopher J. Madaio _______
                                              Christopher J. Madaio




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